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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                            Case No. 1:16-cr-17-MW-GRJ

HEINRICH “HENRY” SPRINGER
____________________________/

                    REPORT AND RECOMMENDATION

      On this date, the Defendant, HEINRICH “HENRY” SPRINGER, and

his attorney, appeared before the Court via videoconference and the

attorney for the Government appeared before the undersigned for the

purpose of considering Defendant’s entry of a guilty plea to: (1) conspiracy

to commit smuggling, Lacey Act violation, Migratory Bird Treaty Act

violations, and making false statements, in violation of 18 U.S.C. § 371, as

charged in Count 1 of the Indictment; (2) knowingly acquiring, receiving,

exporting, importing, and transporting wildlife taken in violation of foreign

law, in violation of 16 U.S.C. §§ 3372(a)(2)(A), 3373(d)(1)(A), and 18

U.S.C. § 2, as charged in Count 2 of the Indictment; and (3) knowingly

receiving, concealing, and transporting merchandise illegally imported, in

violation of 18 U.S.C. §§ 545, and 2, as charged in Count 6 of the

Indictment. The district judge referred this matter to the undersigned for
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purposes of hearing Defendant's proposed plea pursuant to Fed. R. Crim.

P. 11, and to enter a report and recommendation as to whether to accept

the plea. All parties consented to this procedure, and the written consent

has been entered.

      The Court addressed Defendant personally in open court, and after

assuring that Defendant was competent to proceed and had consented to

pleading guilty, the Court finds:

      1. Defendant is mentally alert, appears to be reasonably intelligent,

and understands the nature of the charges as to which the plea is offered

and the consequences of a guilty plea.

      2. Defendant understands that he has a right to trial by jury, to persist

in his plea of not guilty, to assistance of counsel at trial, to confront and

cross-examine adverse witnesses, and that he has a right against

compelled self-incrimination.

      3. Defendant understands the maximum possible sentence he faces

if the guilty plea is accepted, including the effect of the supervised release

term, and understands that the sentencing guidelines apply and that the

court may depart from those guidelines under some circumstances.

      4. The plea of guilty by the Defendant has been freely, knowingly,
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and voluntarily made and is not the result of force or threats or of any

promises except for those promises contained in the written plea

agreement between the parties.

      5. Defendant is competent to plead guilty.

      6. Defendant understands that his answers during the plea colloquy,

which were under oath, may be later used against him in a prosecution for

perjury or false statement.

      7. There is a factual basis for Defendant’s guilty plea.

      8. There is a plea agreement which should be accepted by the

district court. Defendant understands the terms of the plea agreement.

      9. Defendant has made his decision to plead guilty with the advice

and counsel of a competent attorney with whom Defendant acknowledged

he was satisfied.

     10. Defendant has voluntarily consented to go forward with his plea

of guilty before the undersigned and by video. He understands that he has

waived the ten-day period for filing objections to this report and

recommendation, and he agrees that he has twenty-four hours from receipt

of a copy of this report and recommendation in which to file written

objections, if any. The United States also consents to this procedure,
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including the shorter period for objections.

      Accordingly, it is RECOMMENDED that the Court ACCEPT the plea

agreement and Defendant’s plea of guilty.

      IN CHAMBERS at Gainesville, Florida, this 17th day of May, 2017.



                                    s/ Gary R. Jones
                                    GARY R. JONES
                                    United States Magistrate Judge

                        NOTICE TO THE PARTIES

      A party may file specific, written objections to the proposed
findings and recommendations within 24 hours after receiving a copy of
this report and recommendation.
